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Podsiadlo, Kathryn

From:                   John Dalimonte <john@drlawllp.com>
Sent:                   Sunday, March 20, 2022 3:56 PM
To:                     du Pont, Julie K.
Cc:                     Brown, Arthur E.; Douglas, Matthew J.; Michael Gallant; John Restaino; Podsiadlo, Kathryn; Taedra
                        Kogan
Subject:                FW: There are but ten emails here...
Attachments:            artikkel.pdf; Betaling fra USA(1).pdf; Betaling fra USA.pdf; Dette er bildet som er i rapporten din,
                        synapto....pdf; FW_ Travel expenses & work invoice.pdf; Invoice John Restaino.pdf; Mail.pdf; SV_ .pdf;
                        SV_ Chain of Custody Waldum to Mjones(1).pdf; SV_ polypper(1).pdf; SV_ polypper(2).pdf; SV_
                        polypper.pdf; utlevering av materiale.pdf; Patricia Mjønes CV 17 mars 2022.pdf

Follow Up Flag:         Follow up
Flag Status:            Completed



 External E‐mail

Dear Counsel,

Please note that plaintiff objects to the subpoena request for documents served in connection with the deposition of
Patricia Mjones that seek protected attorney client communications, and given that she is a retained expert in this
litigation, those documents subject to the protection of Rule 26. Notwithstanding and subject to the foregoing objection,
plaintiff has attached various emails, billing and a translated CV. I am further sharing a dropbox file with additional
materials, Dr. Mjones intends to refer to during her deposition.


Very truly yours,

John A. Dalimonte, Esq.
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                                                                1
                                                                                                                   EXHIBIT 10
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